 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney                                                              FILED
 2
                                                                                         Jan 25 2021

 3                                                                                     SUSANY. SOONG
                                                                                  CLERK, U.S. DISTRICT COURT
 4                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                                                           OAKLAND

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 8                                   UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA
10                                            OAKLAND DIVISION
11 UNITED STATES OF AMERICA,                          )   CASE NO. 4:21-cr-00031-JSW
                                                      )
12           Plaintiff,                               )   VIOLATIONS:
                                                      )   18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) – Accessing
13      v.                                            )   Child Pornography with Intent to View;
                                                      )   18 U.S.C. § 2253(a) – Criminal Forfeiture
14 SCOTT LONG,                                        )
                                                      )
15           Defendant.                               )   OAKLAND VENUE
                                                      )
16                                                    )
                                                      )
17                                                    )
                                                      )
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19                                            INFO RMATIO N
20 The United States Attorney charges:

21 COUNT ONE:               (18 U.S.C. §§ 2252(a)(4)(B)and (b)(2) – Accessing Child Pornography with
                            Intent to View)
22

23           On or about June 25, 2020, in the Northern District of California, the defendant,
24                                                SCOTT LONG,
25 did knowingly access with intent to view at least one matter which contained any visual depiction that

26 had been shipped and transported using a means and facility of interstate and foreign commerce, the

27 production of which visual depiction involved the use of a prepubescent minor engaging in sexually

28 explicit conduct, which visual depiction was of such conduct, all in violation of Title 18, United States


     INFORMATION
 1 Code, Sections 2252(a)(4)(B) and (b)(2).

 2 FORFEITURE ALLEGATION:                  (18 U.S.C. § 2253(a))

 3          The allegations contained in this Information are re-alleged and incorporated by reference for the

 4 purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 2253.

 5          Pursuant to Title 18, United States Code, Section 2253, upon conviction of the offenses set forth

 6 in this Indictment, the defendant,

 7                                                SCOTT LONG,

 8 shall forfeit to the United States of America:

 9                  a. any visual depiction described in Title 18, United States Code, Sections 2251 or
10                       2251A, or 2252, or any book, magazine, periodical, film, videotape, or other matter
11                       which contains any such visual depiction, which was produced, transported, mailed,
12                       shipped or received in violation of Title 18, United States Code, Chapter 110;
13                  b. any property, real or personal, constituting or traceable to gross profits or other
14                       proceeds obtained from the offenses; and
15                  c. any property, real or personal, used or intended to be used to commit or to promote
16                       the commission of the offenses.
17          The property to be forfeited includes, but is not limited to:
18                  a. One Apple iMac, seized on November 20, 2020.

19          If any of the property described above, as a result of any act or omission of the defendant:

20                  a.      cannot be located upon exercise of due diligence;

21                  b.      has been transferred or sold to, or deposited with, a third party;

22                  c.      has been placed beyond the jurisdiction of the court;

23                  d.      has been substantially diminished in value; or

24                  e.      has been commingled with other property which cannot be divided without

25                          difficulty,

26 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

27 United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 2253(b)

28 and Title 28, United States Code, Section 2461(c).


     INFORMATION                                      2
 1         All pursuant to Title 18, United States Code, Section 2253, Title 28, United States Code,

 2 Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

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 4 DATED: January 25, 2021.                            DAVID L. ANDERSON
                                                       United States Attorney
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 7                                                     Samantha Schott Bennett
                                                       SAMANTHA SCHOTT BEENETT
 8                                                     Assistant United States Attorney

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     INFORMATION                                   3
                       UNITED STATES DISTRICT COURT                                          FILED
                       NORTHERN DISTRICT OF CALIFORNIA                                         Jan 25 2021

                                                                                             SUSANY. SOONG
                                                                                        CLERK, U.S. DISTRICT COURT
                             CRIMINAL COVER SHEET                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                                 OAKLAND

Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER:
 USA V.    SCOTT LONG                                               CR 4:21-cr-00031-JSW

 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF       OAK ✔       SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                                          Date Submitted:                   1/25/2021
 (Lead Attorney): SAMANTHA SCHOTT BENNETT

 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
AO 257 (Rev. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                   INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                 OAKLAND DIVISION
 18 U.S.C. § 2252(a)(4)(B) - Accessing Child Pornography with          Petty
 the Intent to View

                                                                                                                                            FILED
                                                                       Minor              DEFENDANT - U.S
                                                                       Misde-
                                                                       meanor
                                                                                         SCOTT LONG                                         Jan 25 2021
                                                                       Felony
                                                                                             DISTRICT COURT NUMBER                       SUSANY. SOONG
PENALTY:      Maximum 20 years' imprisonment; Maximum fine $250,000;
                                                                                                                                    CLERK, U.S. DISTRICT COURT
              Mandatory minimum 5 year, maximum lifetime supervised release;
                                                                                             4:21-cr-00031-JSW                   NORTHERN DISTRICT OF CALIFORNIA
              $5100 special assessment ($100 if indigent), additional special
              assessment up to $17,000 under 18 U.S.C. § 2259A; restitution;                                                                 OAKLAND
              forfeiture
                                                                                                                       DEFENDANT
                             PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                 Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                              1)       If not detained give date any prior
                     Federal Bureau of Investigation
                                                                                                 summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                      2)       Is a Fugitive
       give name of court
                                                                                        3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                               IS IN CUSTODY
                                                                                        4)       On this charge
       this is a reprosecution of

                                                                                                                                  }
       charges previously dismissed                                                     5)       On another conviction
       which were dismissed on motion                             SHOW                                                                      Federal         State


                                                       }
       of:                                                      DOCKET NO.
                                                                                        6)       Awaiting trial on other charges
            U.S. ATTORNEY              DEFENSE
                                                                                                  If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                           }
                                                                                                                 Yes            If "Yes"
       pending case involving this same                                                      Has detainer
                                                                                                                                give date
       defendant                                                MAGISTRATE                   been filed?         No             filed


                                                       }
                                                                 CASE NO.
       prior proceedings or appearance(s)                                                    DATE OF
                                                                                             ARREST
                                                                                                                       Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                         Or... if Arresting Agency & Warrant were not

                                                                                                                                      Month/Day/Year
Name and Office of Person
Furnishing Information on this form               DAVID L. ANDERSON
                                                                                             DATE TRANSFERRED
                                                                                             TO U.S. CUSTODY
                                                                                                                           
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                            This report amends AO 257 previously submitted
Attorney (if assigned)                     Samantha Schott Bennett
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS               NO PROCESS*                   WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                  * Where defendant previously apprehended on complaint, no new summons or
                                                                                warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                Date/Time:                                 Before Judge:

        Comments:
